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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §   CASE NO. 4:23-cr-218
 vs.                                                  §
                                                      §
 (1) HARDIK JAYANTILAL PATEL,
                                                      §
     aka Erik aka Mitesh aka Nick aka Dev, and
                                                      §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                    §
                                                      §
                 Defendants.                          §

                     UNOPPOSED MOTION TO DISCLOSE
         DISCOVERABLE MATERIALS PURSUANT TO A PROTECTIVE ORDER

         The United States of America respectfully moves that the Court, pursuant to Rule 16(d)(1)

of the Federal Rules of Criminal Procedure, permit the disclosure of discoverable information

pursuant to a protective order restricting further disclosure.

         On May 17, 2023, a grand jury indicted Defendants Hardik Jayantilal Patel and

Dhirenkumar Vishnubhai Patel for conspiracy to commit mail fraud and wire fraud, multiple

counts of mail fraud, and conspiracy to commit money laundering based on their alleged

involvement in a Fraud Ring in which co-conspirators often impersonated the United States

government in order to dupe victims into providing funds to the Fraud Ring. The Indictment

alleges that these funds were provided in the form of cash mailed in parcels via mail carrier, and

that hundreds of victims suffered millions of dollars in losses at the hands of the Fraud Ring.

(Docket Entry No. 1.)

         Pursuant to its discovery obligations in this case, the United States wishes to disclose in

discovery certain materials that implicate third-party privacy information and law enforcement

sensitive information. For example, discovery materials in this case include information regarding

hundreds of victims, including their names, ages, telephone numbers, home addresses, and in some


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cases bank account information. Furthermore, there are particular sensitivities associated with the

disclosure of investigative methods, names, and contact information of witnesses. The material

cannot be redacted adequately because it has evidentiary value in this case and because some

material is electronic in origin and will be produced in native format. The proposed protective

order limits further disclosure of the discovery to be produced in this case, thereby allowing the

government to meet its discovery obligations while also respecting the privacy rights of third

parties and protecting law enforcement sensitive information.

       As stated in the below Certificate of Conference, counsel for Defendants Hardik Jayantilal

Patel and Dhirenkumar Vishnubhai Patel have no objection to this proposed protective order.

       WHEREFORE, the United States respectfully requests this Court permit disclosure

consistent with the above requests.

                                             Respectfully Submitted,

                                             ALAMDAR S. HAMDANI
                                             United States Attorney
                                             Southern District of Texas

                                      By:    /s/ Stephanie Bauman
                                             Stephanie Bauman
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                             CERTIFICATE OF CONFERENCE

        I certify that undersigned counsel for the United States spoke to the following counsel, who
have stated that they have no objection to this motion: Steven Block, counsel for Hardik Jayantilal
Patel (pro hac vice motion pending), and Sara Richey, counsel for Dhirenkumar Vishnubhai Patel.

                                               /s/ Stephanie Bauman
                                              Stephanie Bauman
                                              Assistant United States Attorney

                                CERTIFICATE OF SERVICE

        A true and correct copy of this document was served on all counsel via electronic court
filing and by e-mail on August 30, 2023.

                                               /s/ Stephanie Bauman
                                              Stephanie Bauman
                                              Assistant United States Attorney




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